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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

RALPH M. MOHR
Plaintiff,

v. Civil No.: 11-CV-559-S

ERTE COUNTY LEGISLATURE,

Barbara Miller- Williams, Chairperson,
Robert M. Graber, Clerk of the Legislature,
CHRISTOPHER C. COLLINS, as

County Executive of the County of Erie and
COUNTY OF ERIE,

Defendants.

DECLARATION OF ANTHONY G. MARECKI SUBMITTING
PROPOSED REAPPORTIONMENT PLANS

Anthony G, Marecki, under penalty of perjury and pursuant to 28 U.S.C. § 1746,

declares the following to be true and correct:

1, I am an attorney at law duly licensed to practice in this Court and am an
Assistant County Attorney, of Counsel to Jeremy A. Colby, Erie County Attorney, attorney for
the Defendants Chris Collins and County of Ene (“the County Defendants”), in the

above-captioned action. I am familiar with the facts and circumstances of this litigation.

2. This declaration is submitted as a follow up to the July 21, 2011
appearance at which the Court was provided with a compact disc that contained courtesy copies
of reapportionment plans submitted to the Erie County Legislature. The Court directed that the

files on the compact disc be filed with the Court via CM/ECF so that the documents provided
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would become part of the record. The entire contents of that compact disc are being filed as an

attachment to this declaration.

3, The contents of the compact disc being filed as exhibits to this declaration
are publicly available at http://www2.erie.gov/legislature/index.php?q=maps-submitted-
members-public. At the July 21, 2011 appearance the County Defendants contemplated
providing copies of the compact discs to the parties. However, the County Defendants have
chosen to provide the information in this manner as it makes the attached exhibits part of the
record while simultaneously providing them to counsel. The County Defendants believe they
have responded to the Court’s request by filing all maps accompanied by statistical analysis that
were submitted to either the Advisory Committee or Erie County Legislature.' To the extent any
other party believes there are additional materials responsive to this Court’s request, they may

file them.

4, Also attached is a map of the fifteen legislative districts as they currently
exist as was requested by the Court near the conclusion of the July 21, 2011 appearance. This

map was not included on the compact disc submitted on July 21, 2011
5. The following are attached as Exhibits:

e Exhibit 1 is a map of the fifteen legislative districts as they currently exist;

® Exhibit 2 is the Cassens map;

' The County Defendants have not submitted 10 examples of maps submitted to the Advisory Committee by
Dennis Ward. Admittedly, these maps were not complete plans as the City of Buffalo and Town of Amherst
portions were not complete and no statistical analysis was included with any map.
http://www2.erie.gov/legislature/index php?q=advisory-committee-reapportionment-example-maps

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e Exhibit 3 is the accompanying rationale and statistical analysis for the

Cassens map;

e Exhibits 4 through 26 are maps and accompanying statistics submitted by the

Erie County Advisory Committee on Reapportionment;

e Exhibits 27 through 35 are the Halberstam maps with accompanying statistical:

analysis;

e Exhibits 36 and 37 are the Jordan maps with accompanying statistical

analysis;

e Exhibit 38 is the Keem submission that consists of one page. There was no

map submitted with the one page statistical analysis;

® Exhibits 39 through 51 are Local Law 5-1. Local Law 5-1 has been referred

to by the County Defendants in previous filmgs as the “Whyte Plan”;

® Exhibits 52 through 75 ts Local Law 3-1. Legislature Chairwoman
Miller- Williams considered public comments regarding the Advisory
Committee’s plan, made adjustments to two districts, and proposed Local Law
3-1. The County Defendants have referred to Local Law 3-1 as the

“Miller-Williams Plan.”

e Exhibit 76 is Local Law 4-1. Local Law 4-1 has been referred to by the

County Defendants in previous filings as the “Grant Plan”;

e Exhibits 77 and 78 are the Peacock submissions;

3.
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e Exhibit 79 is the Rozanski submissions. The poor quality of the attached map
is due the manner in which the map was submitted. In addition, the

accompanying narrative submitted contained a blank fifth page;
e Exhibits 80 and 81 are the Rung maps with accompanying statistical analysis:

e Exhibits 82 through 88 are the Toth/Rivera maps with accompanying

statistical analysis; and

e Exhibit 89 is written testimony from the public hearing on the local laws

pertaining to reapportionment.

DATED: Buffalo, New York
July 26, 2011

JEREMY A. COLBY, Erie County Attorney
and Attorney for the County Defendants

By:___/s/ Anthony G. Marecki
Anthony G. Marecki

Assistant County Attorney

95 Franklin Street, Room 1634
Buffalo, New York, 14202
(716) 858-2235

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CERTIFICATE OF SERVICE

I hereby certify that on July 26, 2011, I electronically filed the foregoing with the Clerk
of the District Court using its CM/ECF system, which would then electronically notify the
following CM/ECF participants on this case:

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Sean Cooney,
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Jerome Schad
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And, I hereby certify that I caused the foregoing document with accompanying compact,
via hand delivery, to the following non-CM/ECF participants:

Ralph M. Mohr
5622 Broadway Street
Lancaster, New York 14086

Dennis E. Ward
134 West Eagle
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/s/ Anthony G. Marecki
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